          Case: 1:10-cv-03965
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                              Document #:
                                       #: 30
                                          38 Filed:
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                                                                           PageID #:682
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CLERK, U.S. DISTRICT COURT
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
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                                                           of 65
                                                              65 PageID
                                                                 PageID #:683
                                                                        #:543
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
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                                                           of 65
                                                              65 PageID
                                                                 PageID #:684
                                                                        #:544
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
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                                                           of 65
                                                              65 PageID
                                                                 PageID #:685
                                                                        #:545
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 55 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:686
                                                                        #:546
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 66 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:687
                                                                        #:547
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 77 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:688
                                                                        #:548
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 88 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:689
                                                                        #:549
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 99 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:690
                                                                        #:550
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 10
                                                        10 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:691
                                                                        #:551
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 11
                                                        11 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:692
                                                                        #:552
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 12
                                                        12 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:693
                                                                        #:553
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 13
                                                        13 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:694
                                                                        #:554
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 14
                                                        14 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:695
                                                                        #:555
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 15
                                                        15 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:696
                                                                        #:556
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 16
                                                        16 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:697
                                                                        #:557
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 17
                                                        17 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:698
                                                                        #:558
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
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                                                        18 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:699
                                                                        #:559
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 19
                                                        19 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:700
                                                                        #:560
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 20
                                                        20 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:701
                                                                        #:561
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 21
                                                        21 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:702
                                                                        #:562
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 22
                                                        22 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:703
                                                                        #:563
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 23
                                                        23 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:704
                                                                        #:564
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 24
                                                        24 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:705
                                                                        #:565
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 25
                                                        25 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:706
                                                                        #:566
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 26
                                                        26 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:707
                                                                        #:567
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 27
                                                        27 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:708
                                                                        #:568
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 28
                                                        28 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:709
                                                                        #:569
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 29
                                                        29 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:710
                                                                        #:570
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 30
                                                        30 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:711
                                                                        #:571
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 31
                                                        31 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:712
                                                                        #:572
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 32
                                                        32 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:713
                                                                        #:573
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 33
                                                        33 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:714
                                                                        #:574
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 34
                                                        34 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:715
                                                                        #:575
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 35
                                                        35 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:716
                                                                        #:576
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 36
                                                        36 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:717
                                                                        #:577
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 37
                                                        37 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:718
                                                                        #:578
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 38
                                                        38 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:719
                                                                        #:579
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 39
                                                        39 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:720
                                                                        #:580
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 40
                                                        40 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:721
                                                                        #:581
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
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                                                        41 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:722
                                                                        #:582
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 42
                                                        42 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:723
                                                                        #:583
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 43
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                                                           of 65
                                                              65 PageID
                                                                 PageID #:724
                                                                        #:584
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 44
                                                        44 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:725
                                                                        #:585
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 45
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                                                           of 65
                                                              65 PageID
                                                                 PageID #:726
                                                                        #:586
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
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                                                           of 65
                                                              65 PageID
                                                                 PageID #:727
                                                                        #:587
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
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                                                           of 65
                                                              65 PageID
                                                                 PageID #:728
                                                                        #:588
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 48
                                                        48 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:729
                                                                        #:589
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 49
                                                        49 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:730
                                                                        #:590
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 50
                                                        50 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:731
                                                                        #:591
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
                                                   Page 51
                                                        51 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:732
                                                                        #:592
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
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                                                        52 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:733
                                                                        #:593
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
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                                                        53 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:734
                                                                        #:594
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
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                                                        54 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:735
                                                                        #:595
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
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                                                           of 65
                                                              65 PageID
                                                                 PageID #:736
                                                                        #:596
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
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                                                        56 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:737
                                                                        #:597
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
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                                                              65 PageID
                                                                 PageID #:738
                                                                        #:598
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
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                                                              65 PageID
                                                                 PageID #:739
                                                                        #:599
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
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                                                        59 of
                                                           of 65
                                                              65 PageID
                                                                 PageID #:740
                                                                        #:600
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
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                                                              65 PageID
                                                                 PageID #:741
                                                                        #:601
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
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                                                              65 PageID
                                                                 PageID #:742
                                                                        #:602
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
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                                                              65 PageID
                                                                 PageID #:743
                                                                        #:603
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
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                                                                 PageID #:744
                                                                        #:604
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
                                          11/29/10 Page
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                                                                 PageID #:745
                                                                        #:605
Case: 1:10-cv-03965
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                    Document #:
                             #: 30
                                38 Filed:
                                   Filed: 05/04/11
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                                                                 PageID #:746
                                                                        #:606
